           20 Cr 660
DOCKET No. _____________________________                                       Besim Kukaj
                                                                     DEFENDANT _______________________________________


      Samuel Raymond / David Felton
AUSA ___________________________________                                            Todd Spodek
                                                                     DEF.’S COUNSEL ___________________________________
                                                                     ✔ RETAINED     FEDERAL DEFENDERS    CJA    PRESENTMENT ONLY
   _____________________ INTERPRETER NEEDED
                                                                                  DEFENDANT WAIVES PRETRIAL REPORT

   Rule 5         Rule 9        Rule 5(c)(3)      Detention Hrg.                       12/10/2020
                                                                        DATE OF ARREST ________________            VOL. SURR.
                                                                                       9:00AM
                                                                        TIME OF ARREST ________________            ON WRIT
   Other: ________________________________________                                            9:15PM
                                                                        TIME OF PRESENTMENT __________


                                                             BAIL DISPOSITION
                                                                                                                   SEE SEP. ORDER
  DETENTION ON CONSENT W/O PREJUDICE            DETENTION: RISK OF FLIGHT/DANGER         SEE TRANSCRIPT
  DETENTION HEARING SCHEDULED FOR: ________________________
✔ AGREED CONDITIONS OF RELEASE
  DEF. RELEASED ON OWN RECOGNIZANCE
  $_______________ PRB   ________FRP
  SECURED BY $_______________ CASH/PROPERTY: __________________________________________________________
  TRAVEL RESTRICTED TO SDNY/EDNY/_____________________________________________________________________
  TEMPORARY ADDITIONAL TRAVEL UPON CONSENT OF AUSA & APPROVAL OF PRETRIAL SERVICES
  SURRENDER TRAVEL DOCUMENTS (& NO NEW APPLICATIONS)

   PRETRIAL SUPERVISION:    REGULAR         STRICT    AS DIRECTED BY PRETRIAL SERVICES
   DRUG TESTING/TREATMT AS DIRECTED BY PTS        MENTAL HEALTH EVAL/TREATMT AS DIRECTED BY PTS
   DEF. TO SUBMIT TO URINALYSIS; IF POSITIVE, ADD CONDITION OF DRUG TESTING/TREATMENT

   HOME INCARCERATION        HOME DETENTION      CURFEW       ELECTRONIC MONITORING     GPS
   DEF. TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES

   DEF. TO CONTINUE OR SEEK EMPLOYMENT [OR]     DEF. TO CONTINUE OR START EDUCATION PROGRAM
   DEF. NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON

  DEF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET
  DEF. TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS: ___________________________
______________________________________________________; REMAINING CONDITIONS TO BE MET BY: _____________

ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:

The bond issued in 20 Mag 10598-1 shall apply with equal force in 20-CR-660-15.




✔ DEF. ARRAIGNED; PLEADS NOT GUILTY                        ✔ CONFERENCE BEFORE D.J. ON _______________
                                                                                       01/27/2021
  DEF. WAIVES INDICTMENT
✔ SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 3161(h)(7) UNTIL _______________
                                                                12/28/2020
For Rule 5(c)(3) Cases:
   IDENTITY HEARING WAIVED                                           DEFENDANT TO BE REMOVED
   PRELIMINARY HEARING IN SDNY WAIVED                                CONTROL DATE FOR REMOVAL: _______________


PRELIMINARY HEARING DATE: ________________                           ON DEFENDANT’S
                                                                             DANT S CONSENT


      12/10/2020
DATE: ______________________                                                __________________________________________________
                                                                               ___________________________________________
                                                                            UNITED                                S.D.N.Y.
                                                                                TED STATES MAGISTRATE JUDGE, S.D.N.Y
WHITE (original) – COURT FILE        PINK – U.S. ATTORNEY’S OFFICE       YELLOW – U.S. MARSHAL    GREEN – PRETRIAL SERVICES AGENCY
                                                                                                                            AGEN
Rev’d 2016
